
 The People of the State of New York, - 
againstElla Shillingford, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Abraham L. Clott, J.), rendered February 18, 2015, after a nonjury trial, convicting her of unlicensed general vending and failure to display a vendor's license, and imposing sentence.




Per Curiam.
Judgment of conviction (Abraham L. Clott, J.), rendered February 18, 2015, reversed, on the law, and accusatory instrument dismissed. 
Reversal of the judgment convicting defendant of unlicensed general vending and failure to display a vendor's license, and dismissal of those charges is mandated since, as the People concede, the allegations in the accusatory instruments were insufficient to meet the elements of those charges.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concurI concurI concur	
Decision Date: October 23, 2017










